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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                CENTRAL DIVISION

UNITED STATES OF AMERICA

v.                                                             Case No. 4:20-mj-00281-1-JJV

BRITTANY DAWN JEFFREY

                                            ORDER

       The United States must turn over to the defense all exculpatory evidence—that is evidence

that favors the defendant or casts doubt on the government’s case. See Brady v. Maryland, 373

U.S. 83 (1963), and cases applying this precedent. If the government fails to produce exculpatory

evidence to the defense in a timely manner, the Court may take certain steps: excluding certain

evidence; giving adverse jury instructions; dismissing charges; holding government lawyers in

contempt; or imposing other appropriate sanctions.

       IT IS SO ORDERED this 17th day of December 2020.



                                                     ___________________________________
                                                     JOE J. VOLPE
                                                     UNITED STATES MAGISTRATE JUDGE
